                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE

 UNITED STATES OF AMERICA                         )
                                                  )
 v.                                               )             No. 3:02-CR-014
                                                  )
 RAUF MUHAMMAD                                    )

                            MEMORANDUM AND ORDER
       In August 2003, this Court sentenced the defendant to an enhanced statutory

 minimum sentence of life imprisonment for conspiring to distribute cocaine and cocaine

 base. The defendant is presently housed at FCI Coleman Medium. See Bureau of Prisons,

 https://www.bop.gov/inmateloc/ (last visited September 3, 2020).

        Now before the Court is the defendant’s pro se motion for compassionate release

 pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). [Doc. 254]. The United States has responded in

 opposition to the motion, and the defendant has submitted a reply. [Docs. 257, 258].

 Numerous letters have also been submitted on the defendant’s behalf. [Docs. 259, 260,

 261]. For the reasons that follow, the defendant’s motion must be denied.

                                 I.     BACKGROUND

       As noted, the defendant brings his motion for compassionate release under 18

 U.S.C. § 3582(c)(1)(A)(i), as amended by the First Step Act of 2018. In support, he cites

 the cost of his incarceration, his rehabilitative efforts, and the likelihood that he would

 receive a lesser term of imprisonment if sentenced today under current law. In his reply

 brief, the defendant also discusses the COVID-19 pandemic, his age, and his purported

 diagnoses of diabetes and high cholesterol.


Case 3:02-cr-00014-RLJ-CCS Document 262 Filed 09/09/20 Page 1 of 7 PageID #: 322
                                    II.    DISCUSSION

       Section 3582(c)(1)(A)(i) allows district courts to consider prisoner motions for

 sentence reduction upon a finding of “extraordinary and compelling reasons.” That statute,

 as amended by the First Step Act of 2018, provides in relevant part:

       [T]he court, upon motion of the Director of the Bureau of Prisons [“BOP”], or
       upon motion of the defendant after the defendant has fully exhausted all
       administrative rights to appeal a failure of the Bureau of Prisons to bring a
       motion on the defendant’s behalf or the lapse of 30 days from the receipt of
       such a request by the warden of the defendant’s facility, whichever is earlier,
       may reduce the term of imprisonment (and may impose a term of probation or
       supervised release with or without conditions that does not exceed the unserved
       portion of the original term of imprisonment), after considering the factors set
       forth in section 3553(a) to the extent that they are applicable, if it finds that—

           (i) extraordinary and compelling reasons warrant such a reduction ... and
           that such a reduction is consistent with applicable policy statements issued
           by the Sentencing Commission....

  18 U.S.C. § 3582(c)(1)(A). Prior to the First Step Act, a motion for compassionate release

  could only be brought by the BOP Director, not a defendant.               See 18 U.S.C. §

  3582(c)(1)(A) (2017). The First Step Act amended § 3582(c)(1)(A) to allow a defendant

  to file a motion for compassionate release after first asking the BOP to file such a motion

  on his behalf. See, e.g., United States v. Alam, 960 F.3d 831, 832 (6th Cir. 2020). Beyond

  this change, the statute still applies the same requirements to a defendant’s motion for

  compassionate release as previously applied to motions by the BOP Director. See, e.g.,

  United States v. Beck, 425 F. Supp. 3d 573, 578-79 (M.D.N.C. 2019).

         The United States Sentencing Commission has promulgated a policy statement

  regarding compassionate release under § 3582(c), which is found at U.S.S.G. § 1B1.13 and

  the accompanying application notes. See United States v. McGraw, No. 2:02-cr-00018-

                                              2

Case 3:02-cr-00014-RLJ-CCS Document 262 Filed 09/09/20 Page 2 of 7 PageID #: 323
 LJM-CMM, 2019 WL 2059488, at *3 (S.D. Ind. May 9, 2019). While that particular policy

 statement has not yet been updated to reflect that defendants (and not just the BOP) may

 move for compassionate release, courts have universally turned to U.S.S.G. § 1B1.13 to

 provide guidance on the “extraordinary and compelling reasons” that may warrant a

 sentence reduction. Id. at *2 (citations omitted). Moreover, the Court has no reason to

 believe that the identity of the movant (either the defendant or the BOP) should have any

 impact on the factors the Court should consider. See id. (concluding likewise).

           As provided in § 1B1.13, consistent with the statutory directive in §

 3582(c)(1)(A)(i), the compassionate release analysis requires several findings. First, the

 Court must address whether “[e]xtraordinary and compelling reasons warrant the

 reduction” and whether the reduction is otherwise “consistent with this policy statement.”

 U.S.S.G. § 1B1.13(1)(A), (3). Second, the Court must determine whether a movant is “a

 danger to the safety of any other person or to the community, as provided in 18 U.S.C. §

 3142(g).” U.S.S.G. § 1B1.13(2). Finally, the Court must consider the § 3553(a) factors,

 “to the extent they are applicable.” U.S.S.G. § 1B1.13.

    A. Exhaustion

           In this case, the record demonstrates that the defendant has previously asked the

 BOP to file a compassionate relief motion on his behalf. [Doc. 254, ex. A]. Thirty days

 have passed since that request was received by the warden of his facility. [Id.]. The Court

 thus has authority under § 3582(c)(1)(A) to address the instant motion. See Alam, 960 F.3d

 at 832.



                                              3

Case 3:02-cr-00014-RLJ-CCS Document 262 Filed 09/09/20 Page 3 of 7 PageID #: 324
    B. Merits

              1. Extraordinary and Compelling Reasons

       The Application Notes to guideline 1B1.13 provide, in material part:

       1. Extraordinary and Compelling Reasons.— ... [E]xtraordinary and
          compelling reasons exist under any of the circumstances set forth below:

       (A) Medical Condition of the Defendant.—

       (i)       The defendant is suffering from a terminal illness (i.e., a serious and
                 advanced illness with an end of life trajectory). A specific prognosis
                 of life expectancy (i.e., a probability of death within a specific time
                 period) is not required. Examples include metastatic solid-tumor
                 cancer, amyotrophic lateral sclerosis (ALS), end-stage organ disease,
                 and advanced dementia.

       (ii)      The defendant is—

                (I)     suffering from a serious physical or medical condition,

                (II)    suffering from a serious functional or cognitive impairment, or

                (III)   experiencing deteriorating physical or mental health because of
                        the aging process,

       that substantially diminishes the ability of the defendant to provide self-care
       within the environment of a correctional facility and from which he or she is
       not expected to recover.

      (B) Age of the Defendant. —

               ...

      (C) Family Circumstances. —

               (i) The death or incapacitation of the caregiver of the defendant’s
               minor child or minor children.

               (ii) The incapacitation of the defendant’s spouse or registered partner
               when the defendant would be the only available caregiver for the
               spouse or registered partner.

                                                4

Case 3:02-cr-00014-RLJ-CCS Document 262 Filed 09/09/20 Page 4 of 7 PageID #: 325
       (D) Other Reasons.— As determined by the Director of the Bureau of Prisons,
       there exists in the defendant’s case an extraordinary and compelling reason
       other than, or in combination with, the reasons described in subdivisions (A)
       through (C).

 U.S.S.G. § 1B1.13 cmt. n.1.

       The Court construes the defendant’s motion as relying on subsections (A)(ii)(I) and

 (D). He cites personal health concerns, the COVID-19 pandemic, his rehabilitation, the cost

 of his incarceration, and his likelihood of receiving a lesser term of imprisonment if

 sentenced under current law.

       The Court finds that subsection (A)(ii)(I) is not satisfied in this case. The record before

 the Court contains no supporting documentation as to the severity of the defendant’s medical

 conditions or their impact on his present functioning. The Court is therefore unable to find

 that the defendant’s health substantially diminishes his ability to provide self-care within the

 prison environment, as required by guideline 1B1.13’s policy statement. Further, the

 COVID-19 pandemic is a concern for all inmates and does not alone constitute an

 “extraordinary and compelling reason” for release. See, e.g., United States v. Bolze, No.

 3:09-CR-93-TAV-CCS-1, 2020 WL 2521273, at *7 (E.D. Tenn. May 13, 2020) “([T]he

 COVID-19 pandemic cannot present an extraordinary and compelling reason alone because

 the policy statement directs courts to consider individual reasons for compassionate release,

 not general threats to the prison population.”) (citations omitted).

       Turning to subsection (D) (“there exists in the defendant’s case an extraordinary and

 compelling reason other than, or in combination with, the reasons described in subdivisions

 (A) through (C)”), the Court notes that there is presently a split of authority as to whether

 that “catch all” provision may be used by the courts or only by the BOP. Compare United
                                               5

Case 3:02-cr-00014-RLJ-CCS Document 262 Filed 09/09/20 Page 5 of 7 PageID #: 326
 States v. Young, No. 2:00-cr-00002-1, 2020 WL 1047815, at *6 (M.D. Tenn. Mar. 4, 2020)

 (subsection (D) may be employed by the BOP or by the courts), with Bolze, 2020 WL

 2521273, at *7 (BOP only). This Court need not wade into that dispute today because, in

 any event, the reasons offered by the defendant do not constitute “extraordinary and

 compelling reasons.”

       “[R]ehabilitation of the defendant is not, by itself, an extraordinary and compelling

 reason[.]” U.S.S.G. § 1B1.13 cmt. n.3. Further, it is expensive to incarcerate anyone, not

 just the present defendant. “[C]ircumstances [which] are applicable to all inmates who are

 currently imprisoned . . . are not unique to any one person. The Court cannot release every

 prisoner [subject to that circumstance] because the Court would then be obligated to release

 every prisoner.” United States v. Wright, Criminal Action No. 16-214-04, 2020 WL

 1976828, at *5 (W.D. La. Apr. 24, 2020); accord United States v. Tharpe, No. 1:08-cr-

 10038-JDB-1, 2020 WL 4208245, at *3 (W.D. Tenn. July 22, 2020).

       Lastly, the defendant’s argument regarding the sentence he might receive today is

 construed as a reference to Section 401(a)(1) and (a)(2) of the First Step Act. Those sections,

 respectively, redefine the types of prior convictions that can be used to enhance a

 defendant’s sentence under 21 U.S.C. § 851 and they reduce the enhanced mandatory

 minimum sentences for certain controlled substance offenses.

        However, pursuant to section 401(c) of the First Step Act, Section 401 applies only

 to persons who had not yet been sentenced as of December 21, 2018. See 132 Stat. 5194,

 5221. The instant defendant was sentenced in 2003, more than 15 years before the First

 Step Act became law. Section 401 of the First Step Act therefore does not apply to the

                                              6

Case 3:02-cr-00014-RLJ-CCS Document 262 Filed 09/09/20 Page 6 of 7 PageID #: 327
 present defendant, and this Court will not use guideline subsection (D) to circumvent

 Congress’s express intent. See, e.g., United States v. Cisneros, CR. NO. 99-00107 SOM,

 2020 WL 3065103, at *3 (D. Haw. June 9, 2020) (“[T]his court hesitates to conclude that it

 should reduce Cisneros's sentence solely on the ground that the change in the law constitutes

 an extraordinary and compelling circumstance. Otherwise, every inmate who might receive

 a reduced sentence today would be eligible for compassionate release, and Congress's

 decision not to make the First Step Act retroactive would be meaningless.”).

      Having considered the issues raised by the defendant, individually and in combination,

 the Court does not find extraordinary and compelling reasons justifying the requested

 compassionate release.

                                  III.   CONCLUSION

        The Court genuinely sympathizes with several of the arguments presented by the

 defendant. However, in light of the pertinent legal authority and the present record, the

 defendant’s motion to reduce sentence pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) [doc. 254]

 must be DENIED.

             IT IS SO ORDERED.

                                                        ENTER:



                                                                s/ Leon Jordan
                                                          United States District Judge




                                             7

Case 3:02-cr-00014-RLJ-CCS Document 262 Filed 09/09/20 Page 7 of 7 PageID #: 328
